Case 1:19-cv-04248-SEB-DLP Document 6 Filed 10/29/19 Page 1 of 2 PageID #: 14



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

NICOLE D. HATCHER,                             )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:19-cv-04248-SEB-DLP
                                               )
ABC FINANCIAL SERVICES, INC.,                  )
                                               )
                           Defendant.          )

         Order Directing Filing of Documents Authorizing Dismissal

      The Court has been advised by counsel that a settlement has been reached in

this action. Therefore, all pending motions, if any, are now DENIED AS MOOT

and all previously ordered dates relating to discovery, filings, schedules,

conferences, and trial, if any, are VACATED.

      Within sixty (60) days of the date of this entry, counsel for the Plaintiff shall

file a motion to dismiss this cause and submit an order for the Court’s signature

ordering the dismissal of this action or a stipulation of dismissal (consistent with

the agreement of the parties). Additional time to complete the execution of the

settlement documents may be granted for good cause shown, if requested in writing

before expiration of this period.

      So ORDERED.

       Date: 10/29/2019
Case 1:19-cv-04248-SEB-DLP Document 6 Filed 10/29/19 Page 2 of 2 PageID #: 15




Distribution:

All ECF-registered counsel of record via email
